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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                         NORTHERN DIVISION AT COVINGTON

 TIMOTHY GREGG,                                   :   CASE NO: 2:24-cv-00134-DCR
                                                  :
                Plaintiff,                        :   JUDGE: Danny C. Reeves
                                                  :
        vs.                                       :   AMENDED NOTICE OF DEPOSITION
                                                  :   OF JERRY CHRISTEN
 ST. ELIZABETH MEDICAL CENTER,                    :
 INC.,                                            :
                                                  :
                Defendant.                        :

       Please take notice and be advised that on June 26, 2025 at 10:00am at the offices of

Dressman Benzinger LaVelle PSC, 109 E. Fourth St. Covington, KY 41011, Plaintiff, by counsel,

will take the deposition of Jerry Christen. The deposition shall be taken pursuant to Rule 30 of the

Federal Rules of Civil Procedures before a notary public, shall be upon oral examination for all

purposes permitted under the Federal Rules of Civil Procedures, and shall be recorded by

stenographic and/or video means.

       Respectfully Submitted,

 Christopher Wiest (KBA 90725)                     /s/ Robb S. Stokar
 Chris Wiest, Attorney At Law, PLLC                Robb S. Stokar (Admitted PHV)
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                                                   Counsel for Plaintiff

                                 CERTIFICATE OF SERVICE

     I hereby certify that on June 10, 2025 the foregoing has been filed with the Court’s
CM/ECF system which shall electronically serve all counsel of record: .

                                              __/s/ Robb S. Stokar____ ______
                                              Robb S. Stokar (Admitted PHV)
